                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 IN RE:                                           CHAPTER 7

 GREGORY JOSEPH JOHNSON,                          CASE NO. 5:22-bk-01087
 a/k/a GREGORY J. JOHNSON,
 a/k/a GREGORY JOHNSON,

                  Debtor

 GREGORY JOSEPH JOHNSON,

                  Movant                          Motion for Contempt

 v.

 IRINA MAYMAN

                  Respondent


                                    MOTION FOR CONTEMPT
         AND NOW COMES, Movant, Gregory Joseph Johnson, by and through his attorneys,

Newman Williams. P.C., and pursuant to 11 U.S.C. § 524 seeks relief for violations of the

Discharge Injunction, and in support thereof, presents the following:

      1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §157 and 1334. This is a

         core proceeding under 28 U.S.C. § 157.

      2. Movant/Debtor filed a Chapter 7 Bankruptcy Case on June 10, 2022 docketed at 5:22-bk-

         021087-MJC.

      3. Respondent is Irina Mayman, the Debtor’s ex-wife, with an address of 362 Getz Avenue,

         Staten Island, NY 10312.




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   4. In the Movant’s Voluntary Chapter 7 Petition, Movant listed Respondent on Schedule H

      as a co-obligor on a debt with Key Bank. Schedule H is attached hereto as an Exhibit

      “A”.

   5. On or about June 13, 2022, the Bankruptcy Noticing Center served a formal Notice of

      Chapter 7 Bankruptcy Case, indicating the date and location of the meeting of creditors

      and case deadlines, on Respondent at 611 Shane Drive, Effort, PA 18330. A true and

      correct copy of the Bankruptcy Noticing Center Certificate of Notice is filed with this

      motion as an Exhibit “B”.

   6. Respondent engaged in the herein Chapter 7 proceeding by way appearing via telephone,

      with her attorney Patrick J. Best, Esq., at the July 8, 2022 § 341 Meeting of Creditors

      held before Chapter 7 Trustee John J. Martin, Esq.

   7. Respondent further engaged in the herein Chapter 7 proceeding, by and through her

      attorney, Patrick J. Best, Esq., by the filing of a Motion for Relief from Automatic Stay,

      appearing on the record of this Court at Docket Entry #23.

   8. Respondent further engaged in the bankruptcy proceeding by way of the filing of a

      Request to Appear remotely filed by her attorney, Patrick J. Best, Esq., on March 23,

      2023, and appearing on the record with this Court at Docket Entry #35.

   9. On January 20, 2023, this Court issued a Discharge Order resulting in all dischargeable

      debts the Debtor had on the date of the bankruptcy filing being eliminated. The Discharge

      Order appears on the record with the Court at Docket Entry #27.

   10. The Discharge Order indicated creditors could not contact the Movant by mail, phone, or

      otherwise attempt to collect a debt personally, and warned that creditors who violated this

      Order could be required to pay Movant’s damages and attorney’s fees.




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   11. On January 22, 2023, the Bankruptcy Noticing Center served the Discharge Order on

      respondent, Irina Mayman at 611 Shane Drive, Effort, PA 18330-8170. A true and correct

      copy of the Bankruptcy Noticing Center Certificate of Notice is filed with this motion as

      an Exhibit B and reflected on the record of this Court at Docket Entry #28.

   12. Notwithstanding the entry of the Discharge Order by this Court, on or about September

      27, 2023, Respondent, purportedly on behalf of the minor son she shares with Debtor,

      designated as “E.J.”, filed a civil complaint against Debtor in the United States District

      Court for the Eastern District of Pennsylvania (the “Civil Complaint”). The Civil

      Complaint having been filed in the incorrect venue, the Eastern District of Pennsylvania

      transferred the matter to the Middle District of Pennsylvania on September 28, 2023.

   13. The matter number for the Civil Complaint in the Middle District of Pennsylvania is

      3:23-cv-01636-KM.

   14. The Civil Complaint, attached hereto as Exhibit “C” and incorporated herein by this

      reference, alleges that the Debtor is indebted to E.J. for civil damages as the result of an

      alleged event (the “Alleged Event”) which Debtor claims never occurred.

   15. Regardless of the veracity of the allegations alleged against Debtor in the Civil

      Complaint, the Alleged Event, as claimed by Respondent on behalf of E.J., is alleged at

      Paragraph 9 of the Civil Complaint, to have occurred “[o]n or about August 2021.”

   16. The Alleged Event purportedly occurred ten (10) months prior to the June 10, 2022 filing

      of the Debtor’s Chapter 7 bankruptcy.

   17. Debtor maintains that the Alleged Event did not occur, and thus did not include E.J. as a

      creditor in his Chapter 7 proceeding.




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   18. Until the filing of the Civil Complaint, Debtor was unaware that Respondent was

      claiming the existence of the Alleged Event, and thus did not include E.J. as a creditor in

      his Chapter 7 case.

   19. Regardless of whether the Alleged Event occurred, any obligation of a civil nature by

      Debtor to E.J. was discharged by the January 20, 2023 Discharge Order entered by this

      Court. See Judd v. Wolfe, 78 F.3d 110 (3d Cir. 1996).

   20. Respondent, with full knowledge of the Discharge Order, and in an effort to harass

      Debtor, personally and financially, post-discharge, purportedly on behalf of Debtor’s

      minor child, filed the Civil Complaint against Debtor.

   21. The caption of the Civil Complaint reads “E.J. a minor, by IRINA MAYMAN Mother” as

      Plaintiff.

   22. The actions of Respondent, detailed above, violate the discharge injunction as provided in

      11 U.S.C. 524(a)(2), which provides as follows:

          a. A discharge in case under this title –

                   i. operates as an injunction against the commencement or continuation of an

                      action, the employment of process, or an act, to collect, recover or offset

                      any such debt as a personal liability of the debtor, whether or not discharge

                      of such debt is waived.

   23. Respondent, after having failed to object to discharge or the dischargeability of the debts

      owed to her and after having received notice of Movant’s discharge, having filed suit

      against Debtor with respect to claim which allegedly arose pre-petition, has willfully

      violated the provisions of Section 524(a)(2) of the Bankruptcy Code.




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   24. Due to Respondent’s willful violation of the Bankruptcy Code, Debtor has been injured

       and is entitled to recover actual damages, court costs, attorney’s fees and punitive

       damages.

   WHEREFORE, based on the foregoing, Movant/Debtor respectfully requests that this Court

enter an Order: (i) enforcing the discharge order and finding Respondent in contempt of court,

(ii) ordering Respondent to pay the Movant/Debtor’s actual damages, court costs, and attorney’s

fees: (iii) ordering Respondents to pay punitive damages to Movant/Debtor, and (iv) for such

other relief as this Court shall deem just and equitable.



                                                      Respectfully submitted,

                                                      NEWMAN WILLIAMS, P.C.

                                                      /s/    Robert J. Kidwell
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